                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                        Plaintiff,

       v.                                                    Case No. 04-CR-241

NING WEN,

                        Defendant.


                  ORDER DENYING DEFENDANT’S RULE 29
            MOTION FOR JUDGMENT OF ACQUITTAL AND NEW TRIAL


       On October 13, 2004, a grand jury in this district returned an eight-count indictment

charging United States citizens Ning Wen and his wife Hailin Lin, and Chinese nationals Jian Guo

Qu and his wife Ruo Ling Wang with conspiracy to commit offenses against the United States and

related export and money laundering violations. On March 22, 2005, a superseding indictment was

returned which removed the sentencing allegations of the original indictment and made several

changes to the language in Counts Four and Five. On July 12, 2005, a second superseding

indictment was returned, which removed co-defendant Hailin Lin, Jian Guo Qu and Ruo Ling

Wang, and made several substantive changes to the existing counts. It also added Count Nine,

which alleged that Wen had made false statements to the FBI in violation of Title 18, United States

Code, Section 1001. A third superseding indictment was returned on August 9, 2005. That

indictment changed the scope of the conspiracy charge by limiting the allegations to acts occurring

after March 16, 1992.




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          The case against Wen was tried to a jury commencing on September 14, 2005. At the close

of the government’s case, and again at the close of all evidence, the defendant moved for judgment

of acquittal pursuant to Fed. R. Crim. P. 29 on all counts. The court denied the motion as to Counts

One through Eight, but reserved ruling on Count Nine. All nine counts were submitted to the jury,

which returned a verdict of guilty as to each count. Defendant now renews his motion to dismiss

Count Nine for insufficiency of evidence, and further argues that a new trial should be granted on

the remaining counts on the ground that admission of evidence as to the false statement count was

unfairly prejudicial and tainted the jury. For the reasons that follow, defendant’s motion will be

denied.

          Count Nine of the Third Superseding Indictment charged that Wen knowingly and willfully

made false, fraudulent and fictitious material statements and representations to Special Agent Mark

Dinkel of the Federal Bureau of Investigation (FBI). The allegedly false representations were:

          1) Wen only obtained computer chips for Qu one or two times prior to March 16,
          1992;
          2) Wen Enterprises’ profit is only five percent on items sold to BRLE; and
          3) Wen Enterprises is in compliance with all tax laws.

The statements were made during the course of an interview of Wen by SA Dinkel as other agents

involved in the investigation were executing a search warrant on Wen’s home and seizing business

and computer records relating to the alleged conspiracy to violate U.S. export restrictions with

China. The government argued that Wen made the statements in an effort to deflect attention from

the criminal conduct both he and his wife had been involved in since the early 1990s. Specifically,

the claim that he had obtained computer chips for Qu on only one or two occasions prior to 1992

was intended to minimize his personal involvement in the enterprise. In fact, the government



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contended, Wen had obtained chips for Qu on at least twelve occasions before he left the Chinese

Consulate on March 16, 1992. And Wen’s statements concerning the amount of profit Wen

Enterprises received and its compliance with tax laws were intended to mislead investigators as to

the motive he and his wife had for engaging in the very conduct for which they were under

investigation. The government claimed that in fact Wen Enterprises’ profit on the restricted parts

exported to China was approximately 21% and that throughout the period from 1996 to 2003 Wen

Enterprises was substantially under-reporting its income.

       In finding Wen guilty of making false statements, the jury found that the government had

met its burden of proof only as to Wen’s statements that he had obtained computer chips for Qu on

only one or two occasions prior to March 16, 1992, and that Wen Enterprises was in compliance

with all tax laws. (Doc. # 262 at 3.) Wen argues that even as to these statements the evidence was

insufficient as a matter of law and that evidence relating to tax issues unfairly prejudiced the jury

against him on the remaining counts. For these reasons, Wen argues he is entitled to dismissal of

Count Nine and a new trial on Counts One through Eight.

       In deciding a Rule 29 motion for acquittal, the court must consider the evidence in the light

most favorable to the government and make all inferences in its favor. To sustain a finding of

guilty, there must be substantial evidence that tends to show that the defendant is guilty beyond a

reasonable doubt. United States v. Fearn, 589 F.2d 1316, 1320-21 (7th Cir. 1978). “Stated another

way, a judgment of acquittal should only be granted if the evidence, looked at in the government’s

favor, is so scant that the jury could only speculate as to the defendant’s guilt.” United States v.

Howard, 179 F.3d 539, 542 (7th Cir. 1999).




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       To sustain a verdict of guilty as to Count Nine in this case, the government was required to

prove the following four elements beyond a reasonable doubt:

       First, the defendant made a false, fictitious, or fraudulent statement or
       representation;

       Second, the statement or representation was material;

       Third, the statement or representation was made knowingly and willfully; and

       Fourth, the statement or representation was made in a matter within the jurisdiction
       of the executive branch of the government of the United States.

Seventh Circuit Pattern Jury Instruction, 18 U.S.C. § 1001 (Making a False Statement or

Representation – Elements).

       In arguing that the evidence was insufficient as a matter of law to support a finding of guilty

as to either of the statements upon which the jury based its verdict for Count Nine, the defendant

argues that neither statement was sufficiently clear and definite. The statement concerning the

number of times he had obtained computer chips for Qu prior to March 16, 1992, Wen argues, was

made in the context of a four-hour interview and “[t]he jury could not be sure whether Mr. Wen and

Agent Dinkel were talking about shipments to individuals other than Mr. Qu or whether the

statements were made with respect to 1991.” (Def.’s Reply at 5.) Moreover, because the statement

related to events that occurred more than thirteen years earlier, Wen argues that the evidence failed

to demonstrate that he made the statement knowing it to be untrue when made. (Id. at 6.) Wen also

argues the evidence is insufficient to establish that the number of sales to Qu prior to March 16,

1992, was material. For all of these reasons, Wen contends that evidence of the alleged statement

concerning prior shipments to Qu cannot support a finding of guilty as to Count Nine.




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       Similarly, with respect to his statement that Wen Enterprises was in compliance with all tax

laws, Wen argues that the statement is so broad as to be meaningless. He contends he and his wife

were in compliance with tax laws in that they made quarterly payments of their estimated taxes to

the IRS and were current with their payments. Since this is all he may have meant by the statement

attributed to him, Wen argues the evidence is insufficient to support a guilty verdict. And as with

the statement concerning his previous sales to Qu, Wen argues there was insufficient evidence of

materiality to permit a verdict of guilty. Furthermore, because the evidence that he under-reported

the income of Wen Enterprises was otherwise irrelevant to the case, it should not have been

admitted at all. Wen argues that this evidence served only to prejudice the jury against him and for

this reason, he should be granted a new trial on the remaining counts.

       The evidence presented by the government was sufficient to support a finding that Wen was

guilty of making a false statement to a federal agent when he told SA Dinkel that he had only

obtained computer chips for Qu on one or two previous occasions. Wen’s relationship to Qu was

central to the investigation. Qu was the principal of the Chinese company for which Wen

Enterprises was accused of obtaining restricted components. When SA Dinkel interviewed Qu, he

had not yet viewed the documentation seized from Wen’s home detailing the number of transactions

and the full extent of the conspiracy. The evidence was sufficient to allow the jury to conclude that

by claiming that he had only shipped parts to Qu on one or two occasions prior to leaving the

Chinese consulate and that his wife took over the business shortly thereafter, Wen was attempting

to distance himself from any involvement in the illegal shipments. Wen’s argument that he may

have been confused by the question Dinkel asked or forgotten events that occurred more than

thirteen years earlier go to the weight of the evidence, not its sufficiency. The jury could have


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concluded from the evidence that Wen did not knowingly and willfully make a false statement to

SA Dinkel, but the evidence was not such as to require such a conclusion.

       Likewise on the issue of materiality, the jury was instructed that “a statement is material if

it had the effect of influencing the action of the agency, or was capable of or had the potential to do

so.” (Doc. # 260 at 14.) The Supreme Court has recognized that “the materiality inquiry, involving

as it does delicate assessments of the inferences a reasonable decisionmaker would draw from a

given set of facts and the significance of those inferences to him, is peculiarly one for the trier of

fact.” United States v. Gaudin, 515 U.S. 506, 512 (1995) (internal quotations and brackets omitted).

Here, the government argued that Wen’s claim that he had only obtained computer chips for Qu on

one or two occasions when he was at the Chinese consulate, instead of the approximately one dozen

times reflected in the records obtained in the course of the investigation, was material to the alleged

conspiracy it was investigating at the time. When considered with Wen’s further claim that he

turned over the day-to-day operation of the business to his wife in 1993 and thus had little

knowledge of the specific items she was exporting, this evidence was sufficient to allow a jury to

consider the charge.

       The jury also found Wen guilty of Count Nine based on his statement to SA Dinkel that Wen

Enterprises was in compliance with all tax laws. (Doc. # 262 at 3.) In support of its claim that this

statement constituted a violation of 18 U.S.C. § 1001, the government introduced evidence that Wen

had under-reported the gross receipts of Wen Enterprises on its tax returns by approximately

$500,000 over five years. The government contends that Wen under-reported money received as

proceeds of illegal activity and money laundering. At the time the statement was made, Wen, his

wife and their company were the subject of an inter-agency investigation being conducted by the


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FBI, the Bureau of Industry and Security of the Department of Commerce, the Bureau of

Immigration and Customs Enforcement and the Criminal Investigation Division of the Internal

Revenue Service. The government argues that Wen’s statement concerning his company’s

compliance with tax laws was made in an effort to convince SA Dinkel that his arrest was a mistake

and that Wen Enterprises was a law-abiding company. His statements, the government contends,

“were positive and affirmative, and were calculated to pervert the authorized functions of

government.” (Govt.’s Resp. at 10.) (quoting United States v. Isaacs, 493 F.2d 1124, 1158 (7th Cir.

1974).

         Wen suggests that this statement is too general to serve as the basis for a violation of § 1001.

He argues that it was intended to refer to the fact that he and his wife paid quarterly estimated taxes

for the income of Wen Enterprises and had nothing to do with the amount of income they were

reporting. (Def.’s Reply at 4.) Wen also argues there was insufficient evidence that he knew that

the income of Wen Enterprises was under-reported. Thus, Wen argues the evidence concerning this

statement was insufficient to support a finding of guilty as to Count Nine.

         It is true that the statement Wen was alleged to have made concerning Wen Enterprises’

compliance with tax laws was general. But Wen cites no authority in support of his suggestion that

a general statement cannot provide the basis for a charge under § 1001. Here, the jury considered

the general statement Wen was alleged to have made that his company was in compliance with all

tax laws in light of the evidence adduced by the government that they under-reported its gross

receipts by approximately $500,000 over a five year period. On the basis of this evidence, the jury

could reasonably find Wen’s statement that the business was in compliance with tax laws was false.

The government also introduced evidence that showed Wen was continuously involved in the


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business, which was run out of their home, and that he was particularly concerned with the financial

aspect of the business. He also signed the tax returns for the years in question. From this evidence

the jury could conclude Wen knew his statement was false.

       Wen also argues that evidence relating to tax violations was unfairly prejudicial and that

Count Nine, at least as it applies to the alleged statement concerning compliance with tax laws,

should have been severed. In a decision issued shortly before trial, the court denied Wen’s motion

to sever Count Nine ruling in part that Wen would not be prejudiced because the government

intended to introduce the same evidence to prove the export violation and money laundering counts.

The government argued that evidence of Wen’s under-reporting of income was relevant to the

conspiracy to violate export restrictions charged in Count One because it showed his knowledge that

the conduct was illegal. It was the government’s contention that Wen and his wife under-reported

the income attributable to Wen Enterprises in order to hide the proceeds of their crime from the

government and reduce the risk of an IRS audit which might have uncovered their crimes. As the

government argued in its brief in opposition to Wen’s motion to exclude such evidence, “this

conduct reflects attempts by co-conspirators to ‘fly under the radar’ of the United States

government, to avoid scrutiny for their illegal conduct.” (Doc. # 234 at 5.)

       As the parties acknowledge in their briefs, at the close of the fourth day of trial the court

expressed concern that evidence of under-reporting of income appeared unrelated to the export

violation and money laundering conspiracies and related counts. Absent some relevance to the other

counts, the court expressed concern that the introduction of such evidence had resulted in unfair

prejudice to the defendant. Notwithstanding these misgivings, the court concludes that Wen was

not unfairly prejudiced by the admission of evidence relating to his under-reporting of income. The


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government introduced evidence that Wen was concerned that the business would be subject to an

IRS audit if its income continued to increase. At one point, he considered an audit unavoidable.

(Ex. 127A.) By under-reporting income received by Wen Enterprises, the defendants presumably

would have been better able to hide the fact that a substantial portion of the income Wen Enterprises

received was for exporting restricted electrical components in the event an audit was performed.

Thus, the evidence was relevant to the government’s theory that Wen and his wife under-reported

income as part of their effort to conceal their illegal conduct. Evidence that Wen was aware of the

illegality of certain shipments was directly relevant to Wen’s principal defense that he did not know

what his wife was doing. Although the relevance was not as clear as it initially appeared it would

be prior to trial, the court concludes Wen was not unfairly prejudiced. The court also notes that the

jury was instructed to consider each count and the evidence relating to it separately and that its

verdict on one count should not control its verdict on any other. (Doc. # 260 at 21.) Based on the

presumption that the jury followed the instructions, the court concludes no unfair prejudice

occurred.

       For all of these reasons, Wen’s Rule 29 motion for judgment of acquittal on Count Nine and

for a New Trial on the remaining counts is therefore denied.

       SO ORDERED.

       Dated this    4th      day of November, 2005.



                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




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